           Case 22-03330 Document 1 Filed in TXSB on 12/01/22 Page 1 of 11




                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

 In re:                                               §
                                                      §
 PROVIDENCE HOSPITAL OF NORTH                         § CASE NO. 20-34238
 HOUSTON LLC,                                         §
                                                      § Chapter 7
           Debtor.                                    §
                                                      §
                                                      §
                                                      §
 ALLISON D. BYMAN,                                    §
 CHAPTER 7 TRUSTEE,                                   §
                                                      §
           Plaintiff,                                 §
                                                      § ADV. PRO. NO. ______________
 v.                                                   §
                                                      §
 RRL CAPITAL INVESTMENTS, LLC,                        §
                                                      §
           Defendant.                                 §
                                                      §

    PLAINTIFF’S ORIGINAL COMPLAINT TO DETERMINE THE VALIDITY,
   PRIORITY, AND EXTENT OF SECURED STATUS UNDER 11 U.S.C. § 506 AND
  FOR WILLFUL VIOLATION OF THE AUTOMATIC STAY UNDER 11 U.S.C. § 362

          Plaintiff Allison D. Byman, in her capacity as the chapter 7 trustee of the above-referenced

bankruptcy case (the “Plaintiff” or the “Trustee”), by and through her undersigned counsel, hereby

files this Original Complaint to Determine the Validity, Priority, and Extent of Secured Status

Under 11 U.S.C. § 506 and for Willful Violation of the Automatic Stay Under 11 U.S.C. § 362 (the

“Complaint”) against Defendant RRL Capital Investments, LLC (the “Defendant” or “RRL”). In

support of this Complaint, Plaintiff would respectfully show the Court as follows:

                                     I.      INTRODUCTION

          1.      This adversary proceeding is brought to disallow or invalidate the alleged lien

described in RRL’s Notice of Perfected Security Interest in Debtor’s Personal Property (the
         Case 22-03330 Document 1 Filed in TXSB on 12/01/22 Page 2 of 11




“Notice”) [Case No. 20-34238, Docket No. 76] and asserted against the estate of Providence

Hospital of North Houston, LLC (“Providence” or the “Debtor”). The Debtor was indebted to

Independent Bank (the “Bank”) under two loan agreements prior to its bankruptcy filing. The

Loans (defined below) were subsequently paid in full. RRL claims that the Bank’s interest in the

Loans was assigned to RRL prior to any loan payoff. However, the documents made available to

the Trustee, and the Rule 2004 testimony of RRL, suggest otherwise. Specifically, the documents

reflect that the Loans were paid in full on October 29, 2020, but the purported assignments did not

take place until a year and half later—April 15, 2022. The assignments specifically recite that the

Bank was only assigning its interest in the Loans as of the date the assignments were executed—

April 15, 2022. In addition, RRL alleges that it entered into a separate transaction with a related

entity to fund its purchase of the Loan, and RRL’s corporate representative testified at a Rule 2004

examination that RRL was not seeking repayment of the Loans from the Debtor’s estate.

Accordingly, this Complaint seeks a judgment from this Court declaring the amount, validity, and

characterization of RRL’s lien, if any, in the assets of the Debtor.

       2.      This action also seeks actual damages against RRL arising from RRL’s willful

violation of the automatic stay for (i) sending a cease-and-desist letter to counsel for the Trustee,

dated March 28, 2022 (the “Letter”) on the eve of depositions and mediation in a related adversary

proceeding and (ii) filing the Notice without a proper basis. As a result of the stay violation, the

Trustee further seeks an award of her actual damages including, but not limited to, all attorneys’

fees and costs incurred by the Debtor’s estate in responding to the Letter and the Notice and

bringing this action.




                                                  2
        Case 22-03330 Document 1 Filed in TXSB on 12/01/22 Page 3 of 11




                                      II.     PARTIES

       3.     Plaintiff Allison D. Byman was appointed as the chapter 7 trustee for the Debtor’s

bankruptcy estate (the “Estate”) in the above-styled bankruptcy case (“Case” or “Bankruptcy

Case”) on September 22, 2020.

       4.     Defendant RRL Capital Investments, LLC is a limited liability company organized

and existing under the laws of the State of Texas. Defendant may be served via its registered

agent, Ravishankar Mallapuram, at 13605 Summer Cloud Lane, Pearland, Texas 77584.

                          III.     JURISDICTION AND VENUE

       5.       This Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C.

§§ 157 and 1334(b).

       6.     This adversary proceeding is a core proceeding to be heard and determined by the

Bankruptcy Court under 28 U.S.C. § 157(b)(2)(A), (B), & (K).

       7.     To the extent that any matter herein is non-core, the Trustee hereby consents to the

Court’s entry of a final judgment resolving this Adversary Proceeding.

       8.     Venue for this adversary proceeding is proper in this Court pursuant to 28 U.S.C.

§§ 1408 and 1409.

       9.     This adversary proceeding is commenced pursuant to Rule 3007(b) and 7001(2) of

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and sections 362(k) and 506

of title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (as amended, the “Bankruptcy Code”).

                           IV.      FACTUAL BACKGROUND

       10.    On August 22, 2020 (the “Petition Date”), Providence filed a voluntary petition

under chapter 7 of the Bankruptcy Code, thereby commencing the Bankruptcy Case.

       11.    Plaintiff Allison D. Byman was subsequently appointed as the Chapter 7 Trustee.



                                               3
         Case 22-03330 Document 1 Filed in TXSB on 12/01/22 Page 4 of 11




        12.     On October 1, 2020, the Trustee held and concluded the Debtor’s statutory first

meeting of creditors and filed her Notice of Assets, Notice to Creditors and Other Parties in

Interest of the Need to File Claims and thereby established a deadline of January 4, 2021 to file

proofs of claim (the “Bar Date”). [Case No. 20-34238, Docket No. 38]

        13.     Neither the Bank nor RRL has filed a proof of claim in the Bankruptcy Case to date.

A.      The Loan Agreements

        i.      The First Loan

        14.     Prior to the Petition Date, on or about November 20, 2015, the Debtor entered into

that certain Promissory Note, Deed of Trust, Security Agreement, and Letter Loan Agreement

(collectively, the “First Loan”) with the Bank pursuant to which the Bank provided financing in

the total amount of $6,673,000.00. In conjunction with the First Loan, the Debtor pledged certain

of its assets to the Bank as collateral.

        15.     On December 1, 2015, the Bank filed a UCC-1 Financing Statement, File No. 15-

0037788594, related to the First Loan, with the Texas Secretary of State’s office (the “First Loan

UCC-1”).

        16.     On September 4, 2020, the Bank filed a continuation statement of the First Loan

UCC-1 with the Texas Secretary of State’s office on September 4, 2020 (the “Continuation

Statement”).

        ii.     The Second Loan

        17.     On or about June 23, 2016, the Debtor entered into that certain Revolving Working

Capital Note, Deed of Trust, Security Agreement, Letter Loan Agreement, and Collateral

Assignment of Rents and Leases (collectively, the “Second Loan” and together with the First Loan,

the “Loans”) with the Bank pursuant to which the Bank provided financing in the total amount of



                                                 4
         Case 22-03330 Document 1 Filed in TXSB on 12/01/22 Page 5 of 11




$2,800,000.00. In conjunction with the Second Loan, the Debtor pledged certain of its assets to

the Bank as collateral.

       18.       On June 30, 2016, the Bank filed a UCC-1 Financing Statement, File No. 16-

0021670457, related to the Second Loan, with the Texas Secretary of State’s office (the “Second

Loan UCC-1”).

       iii.      Payoff of the Loans

       19.       On October 29, 2020, the Loans were paid off in full when RRL made payment in

the aggregate amount of $4,167,274.16 to the Bank on account of the total outstanding balance

under the Loans.

       20.       Upon information and belief, Doctors Hospital 1997 LP d/b/a United Memorial

Medical Center (“UMMC”) loaned Ravishanker Mallapuram and Syed Mohiuddin a total of

$5,400,000.00, and Mallapuram and Mohiuddin then used the loan proceeds to fund RRL and pay

off the Loans.

       21.       Simultaneously, RRL entered into a separate loan agreement with Medical Village

III LLC whereby Medical Village III LLC agreed to pay RRL a total amount of $7,191,818.54.

       22.       Medical Village III LLC has made no payments on account of its loan obligations

to RRL to date.

       23.       Similarly, Mallapuram and Mohiuddin have made no payments on account of their

loan obligation to UMMC to date.

       24.       On December 17, 2020, the Bank terminated its Second Loan UCC-1 by filing a

termination statement with the Texas Secretary of State’s office (the “Second Loan Termination

Statement”).

       25.       Upon information and belief, the Bank has not terminated its First Loan UCC-1 due

to mistake or inadvertence.
                                                 5
         Case 22-03330 Document 1 Filed in TXSB on 12/01/22 Page 6 of 11




        iv.     RRL’s Claim Against the Estate

        26.     On March 28, 2022, RRL sent the Letter to counsel for the Trustee and demanded

that the Trustee cease and desist all actions in the adversary proceeding pending before this Court,

styled as: Allison D. Byman, Chapter 7 Trustee v. Doctors Hospital 1997 LP d/b/a United

Memorial Medical Center, Adv. Pro. No. 21-03426 (the “UMMC Adversary Proceeding”), until

RRL brought an action to enforce its rights as a secured creditor holding a first priority lien.

        27.     There exists common ownership between RRL, Medical Village III LLC, and

UMMC.

        28.     To date, RRL has not brought any action to enforce its alleged rights as a secured

creditor holding a first priority lien in the assets of the Debtor.

        29.     Instead, on May 16, 2022, RRL filed its Notice in the Bankruptcy Case asserting

that RRL (i) acquired the Bank’s interest in the Loans, (ii) held an interest in the Debtor’s cash

collateral, and (iii) did not consent to the continued use of the Debtor’s cash collateral.

        30.     According to RRL, on October 29, 2020, the Bank sold, assigned, and transferred

its interest in the Loans to RRL as part of a transaction where additional credit was extended by

the Bank to entities under common ownership with RRL, and in exchange, RRL paid off the

balance on the Loans. However, the Bank did not execute the two Assignments of Notes and Liens

(the “Assignments”) until April 15, 2022, approximately a year and a half after the Loans were

paid off and 18 days after RRL sent the Trustee the Letter ordering her to cease and desist in her

collection efforts against a related entity, UMMC, in the UMMC Adversary Proceeding. The

Assignments specifically recite, in relevant part, that:

        a.      The Note, Liens and the Security Instruments have not been assigned or
                hypothecated in any manner, except for this assignment to Assignee;

        b.      There is no balance due and owing on the Note as of the date hereof as the Note has
                been paid in full; and

                                                   6
           Case 22-03330 Document 1 Filed in TXSB on 12/01/22 Page 7 of 11




          c.    Executed on the date(s) acknowledged below to be effective April 15th, 2022.

          31.   On June 6, 2022, the Trustee filed her Response to Notice of Perfected Security

Interest in Debtor’s Personal Property (“Response”) [Case No. 20-34238, Docket No. 79]. The

Trustee’s Response indicates that the Bank held no interest in the Loans on April 15, 2022, the

effective date of the Assignments, because the Loans were paid off on October 29, 2020. Thus,

the Assignments conveyed no interest in the Loans or the collateral purportedly secured by the

Loans to RRL.

          32.   On August 23, 2022, this Court held a hearing on the Notice and entered no relief

on account of the Notice following RRL’s withdrawal of its objection to the Trustee’s use of cash

collateral.

                                V.       CAUSES OF ACTION

A.        Count I – Declaratory Judgment to Determine the Validity, Priority, and Extent of
          RRL’s Secured Status – 28 U.S.C. § 2201.

          33.   The Trustee incorporates by reference each of the allegations contained in

Paragraphs 1 through 32 above as if fully set forth herein.

          34.   Pursuant to the Federal Declaratory Judgment Act, “[i]n a case of actual

controversy within its jurisdiction . . . any court of the United States, upon the filing of an

appropriate pleading, may declare the rights and other legal relations of an interest party seeking

such declaration, whether or not further relief is or could be sought. Any such declaration shall

have the force and effect of a final judgment or decree and shall be reviewable as such.” 28 U.S.C.

§ 2201.

          35.   RRL asserts that it has a valid and enforceable lien secured by the assets of the

Debtor by virtue of the Assignments and the Loans.




                                                 7
         Case 22-03330 Document 1 Filed in TXSB on 12/01/22 Page 8 of 11




       36.     However, based on the documents and information made available to the Trustee,

along with the Rule 2004 testimony of RRL’s corporate representative, the underlying

indebtedness was paid off prior to the Assignments, and as such, no lien(s) exists on account of

the Loans.

       37.     Based on the foregoing, an actual controversy exists under 28 U.S.C. § 2201.

       38.     The Trustee is therefore entitled to a declaratory judgment of the rights and other

legal relations as between the Debtor’s Estate and RRL.

       39.     Plaintiff seeks a judgment from this Court declaring the amount, validity, priority,

and/or extent of RRL’s secured interest, if any, in any property of the Debtor and/or the Estate.

Specifically, the Plaintiff seeks a judgment from this Court declaring that neither Providence nor

the Estate owes any amount to the Bank or RRL, and that neither the Bank nor RRL have a valid

security interest in any property of the Debtor and/or the Estate.

       40.     A declaration as to the above-listed matters will put an end to the controversy.

Accordingly, the controversy is ripe for determination.

B.     Count II – Willful Violation of the Automatic Stay – 11 U.S.C. § 362(k).

       41.     The Trustee incorporates by reference each of the allegations contained in

Paragraphs 1 through 40 above as if fully set forth herein.

       42.     RRL had actual knowledge of Debtor’s pending Bankruptcy Case and that the

automatic stay was in effect at the time RRL sent the Letter to the Trustee and filed the Notice.

       43.     RRL’s actions in sending the Letter, demanding that the Trustee cease and desist

from prosecuting an action belonging to the Debtor’s Estate and its assertion of a lien in the

Debtor’s assets, despite the fact that the underlying Loans were paid off on October 29, 2020,

violates the automatic stay under 11 U.S.C. § 362(a)(3).



                                                 8
            Case 22-03330 Document 1 Filed in TXSB on 12/01/22 Page 9 of 11




           44.   Moreover, RRL’s assertion of a valid lien as reflected in the Notice also violates

the automatic stay because the indebtedness underlying the Loans was paid in full approximately

a year and a half prior to the Bank’s execution of the Assignments.

           45.   Further, the timing of RRL Letter and the Rule 2004 testimony of RRL’s principal

suggest that RRL asserted its purported lien for the sole purpose of leverage in pending litigation

in a related adversary proceeding.

           46.   RRL’s acts constitute willful violations of the automatic stay. RRL knew the

automatic stay was applicable to the Debtor, RRL’s actions were intentional, and the acts alleged

herein violated the provisions and purposes of the automatic stay and the Bankruptcy Code.

           47.   The Debtor’s Estate has been injured by and has incurred actual damages as a result

of RRL’s violations of the automatic stay.

           48.   In addition, the Trustee engaged undersigned counsel to, among other things,

respond to the Letter and the Notice and pursue this declaratory judgment action. Pursuant to

section 362(k) of the Bankruptcy Code, the Trustee is also entitled to an award of all reasonable

and necessary attorneys’ fees and costs incurred investigating and responding to the Letter and

Notice and bringing this action for a declaratory judgment.

                                 VI.      RELIEF REQUESTED

           WHEREFORE, the Trustee respectfully requests:

      i.         Entry of a final judgment against Defendant on all claims and finding and declaring

                 that:

                 1.      The liens held by the Bank were extinguished upon satisfaction of the Loans

                         on October 29, 2020;




                                                  9
      Case 22-03330 Document 1 Filed in TXSB on 12/01/22 Page 10 of 11




            2.     The purported assignment of the Loans and related liens from the Bank to

                   RRL on April 15, 2022, was invalid and ineffective due to the prior

                   satisfaction of the Loans;

            3.     The lien(s) asserted by RRL against property of the Estate are invalid and

                   RRL holds no claims against the Debtor or the Estate;

            4.     RRL’s actions arise to the level of a willful violation of the automatic stay

                   and the Trustee is entitled to her actual damages as a result of RRL’s willful

                   stay violation, plus all reasonable and necessary attorneys’ fees as permitted

                   under applicable law; and

ii.         Such other relief as the Court may deem just and proper.

      DATED: December 1, 2022.

                                          Respectfully submitted,

                                          HUSCH BLACKWELL LLP

                                                  Timothy A. Million
                                                  State Bar No. 24051055
                                                  Randall A. Rios
                                                  State Bar No. 16935865
                                                  Chase Tower
                                                  600 Travis Street, Suite 2350
                                                  Houston, Texas 77002
                                                  Tel: 713-647-6800
                                                  Fax: 713-647-6884

                                                  -AND-

                                          By: /s/ Jameson J. Watts
                                               Jameson J. Watts
                                               State Bar No. 24079552
                                               111 Congress Avenue, Suite 1400
                                               Austin, Texas 78701
                                               Tel: (512) 472-5456
                                               Fax: (512) 479-1101
                                               jameson.watts@huschblackwell.com

                                             10
Case 22-03330 Document 1 Filed in TXSB on 12/01/22 Page 11 of 11




                                    -AND-

                                    Ryan A. Burgett
                                    Tennessee Bar No. 33641
                                    736 Georgia Avenue, Suite 300
                                    Chattanooga, Tennessee 37402
                                    Tel: (423) 266-5500
                                    Fax: (423) 266-5499
                                    Ryan.Burgett@huschblackwell.com

                                    ATTORNEYS FOR ALLISON D. BYMAN,
                                    CHAPTER 7 TRUSTEE




                               11
